                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       NO. 3:13-00121
                                              )
EMILIA TIRADO-MEDINA                          )



                                            ORDER

         Defendant’s motion (Docket Entry No. 19) to continue the arraignment on the indictment is

GRANTED.

         It is hereby ORDERED that the Arraignment on defendant Tirado-Medina is

RESCHEDULED from July 24, 2013, to Monday, August 5, 2013, at 12:00 noon. Defendant shall

be produced for this hearing. An Interpreter will be provided for the defendant.1

         It is so ORDERED.




                                              JULIET GRIFFIN
                                              United States Magistrate Judge




     1
   Since the services of an Interpreter are necessary for this defendant, the Court will not accept a
waiver of appearance after 3:00 p.m. on Friday, August 2, 2013.


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